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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
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     MORIAH ZEIGLER,                     ) Case No.: 2:17-cv-09295-MWF(AFMx)
12                                       )
                       Plaintiff,        ) JUDGMENT AND ORDER
13                                       )
14
           v.                            )
                                         )
15   COUNTY OF SAN LUIS OBISPO;          )
     COUNTY OF SAN LUIS OBISPO           )
16   DEPARTMENT OF SOCIAL                )
     SERVICES; SAN LUIS OBISPO           )
17   COUNTY SHERIFF’S                    )
     DEPARTMENT; TERI WARKENTIN, )
18   an individual; DIANA STEINHAUER, )
     an individual; LINDA GENDRON, an )
19   individual; DESILYN TRAHAN, an      )
     individual; JOCELYN McCURRY, an )
20   individual; GREGORY ROACH, an       )
     individual; ALFREDO CAMPOS, an )
21   individual; and DOES 1 through 100; )
                                         )
22                     Defendants.       )
23
                                         )

24
25        On March 4, 2019, Defendants COUNTY OF SAN LUIS OBISPO, TERI
26   WARKENTIN, DIANA STEINHAUER, LINDA GENDRON, DESILYN TRAHAN,
27   JOCELYN McCURRY, GREGORY ROACH, AND ALFREDO CAMPOS
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 1   (collectively, “Defendants”) filed their motion for summary judgment or in the
 2   alternative, partial summary judgment;
 3          On May 16, 2019, the Court issued its Order and Defendants’ motion for
 4   summary judgment was DENIED as to the extent it was based on Plaintiff’s First Claim
 5   premised on Officers GREGORY ROACH and ALFREDO CAMPOS’ warrantless entry
 6   into the home; it was DENIED as to Plaintiff’s Second claim made pursuant to Monell to
 7   the extent it was premised on the County’s policy of subjecting children to forensic
 8   medical examinations absent parental consent or a warrant; it was GRANTED as to
 9   Plaintiff’s First Claim for relief for violation of various federal civil rights to the extent it
10   was premised on Plaintiff’s child E.Z.’s removal from the home; it was GRANTED as to
11   Plaintiff’s Second Claim for relief for municipal liability pursuant to Monell to the extent
12   it is premised on the County’s alleged policy of placing children into protective custody
13   absent warrants; it was GRANTED as to Plaintiff’s Third Claim for violation of various
14   state civil rights to the extent they were premised on E.Z.’s warrantless removal; it was
15   GRANTED as to Plaintiff’s Fourth Claim for relief for violation of California Civil
16   Code § 43 to the extent it was premised on E.Z.’s warrantless removal; it was
17   GRANTED as to Plaintiff’s Fifth Claim for judicial deception pursuant to California
18   Government Code § 820.21; it was GRANTED as to Plaintiff’s Sixth Claim for relief for
19   failure to comply with mandatory duties pursuant to California Government Code §
20   815.6 to the extent it was premised on E.Z’s warrantless removal; it was GRANTED as
21   to Plaintiff’s Seventh Claim for relief for intentional infliction of emotional distress to
22   the extent it is premised on E.Z.’s warrantless removal;
23          On February 15, 2022, the Parties stipulated that Defendant COUNTY OF SAN
24   LUIS OBISPO admitted liability as to Plaintiff’s Monell claim premised on the County’s
25   policy of subjecting children to forensic medical examinations absent parental consent or
26   a warrant; the Parties agreed to hold trial solely for Plaintiff’s damages regarding the
27   Monell claim; Plaintiff agreed to dismiss the law enforcement claims against Defendants
28   GREGORY ROACH and ALFREDO CAMPOS; Plaintiff would make a motion for

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 1   attorney’s fees and costs regarding the admitted Monell claim; the Parties further
 2   stipulated that Plaintiff shall retain the right to appeal the holding in Defendants’ granted
 3   summary judgment motion;
 4         On June 7, 2022, the Parties held a settlement conference with the Court and
 5   reached a settlement regarding Plaintiff’s Monell claim premised on the County’s policy
 6   of subjecting children to forensic medical examinations absent parental consent or a
 7   warrant;
 8         On November 29, 2022, Plaintiff filed her motion for attorney’s fees and costs;
 9         On March 1, 2023, the Court GRANTED, in part, Plaintiff’s motion for attorney’s
10   fees and costs, awarding $144,463.64 in attorney’s fees and $48,011.66 in costs.
11
12      NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
13   DECREED THAT:
14              1. This action came to a hearing before the Court. The issues have been heard
15         and a decision has been rendered.
16              2. Judgment is entered on behalf of Defendant as to Plaintiff’s First Claim for
17         relief for violation of various federal civil rights to the extent it was premised on
18         Plaintiff’s child E.Z.’s removal from the home;
19              3. Judgment is entered on behalf of Defendant as to Plaintiff’s Second Claim
20         for relief for municipal liability pursuant to Monell to the extent it is premised on
21         the County’s alleged policy of placing children into protective custody absent
22         warrants;
23              4. Judgment is entered on behalf of Defendant as to Plaintiff’s Third Claim for
24         violation of various state civil rights to the extent they were premised on E.Z.’s
25         warrantless removal;
26              5. Judgment is entered on behalf of Defendant as to Plaintiff’s Fourth Claim
27         for relief for violation of California Civil Code § 43 to the extent it was premised
28         on E.Z.’s warrantless removal;

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 1           6. Judgment is entered on behalf of Defendant as to Plaintiff’s Fifth Claim for
 2        judicial deception pursuant to California Government Code § 820.21;
 3           7. Judgment is entered on behalf of Defendant as to Plaintiff’s Sixth Claim for
 4        relief for failure to comply with mandatory duties pursuant to California
 5        Government Code § 815.6 to the extent it was premised on E.Z’s warrantless
 6        removal;
 7           8. Judgment is entered on behalf of Defendant as to Plaintiff’s Seventh Claim
 8        for relief for intentional infliction of emotional distress to the extent it is premised
 9        on E.Z.’s warrantless removal.
10           9. Plaintiff is awarded $144,463.64 in attorney’s fees and $48,011.66 in costs.
11           10. Exclusive jurisdiction is hereby retained by this Court for all matters
12        including the administration, interpretation, or enforcement of the stipulation,
13        settlement, enforcement of the Order for attorney’s fees and costs, this Order and
14        Final Judgment.
15           11. Immediate entry by the Clerk of the Court is directed pursuant to Rule
16        54(b) of the Federal Rules of Civil Procedure.
17        IT IS SO ORDERED.
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19   Dated: March 27, 2023
                                            MICHAEL W. FITZGERALD
20                                          United States District Judge
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                                  JUDGMENT AND ORDER
